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 1                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
 2                               NORTHERN DIVISION

 3

 4
       UNITED STATES OF AMERICA
 5
                 v.                            CRIMINAL CASE NO.
 6                                              ELH-17-322
       ANTOINE HARRIS,
 7
               Defendant
 8     ___________________________/

 9

10                       (Sentencing)
                      Monday, December 17, 2018
11                    Baltimore, Maryland

12
     Before:   Honorable Ellen L. Hollander, Judge
13

14

15   Appearances:

16             On Behalf of the Government:
                Michael C. Hanlon, Esquire
17
               On Behalf of the Defendant:
18              Michael D. DeMartin, Esquire

19             Also Present:
                Nicole Wonneman, Probation Officer
20

21

22   ----------------------------------------------------------------

23                      Mary M. Zajac, RPR, FCRR
                      Fourth Floor, U.S. Courthouse
24                      101 West Lombard Street
                        Baltimore, Maryland 21201
25
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 1                 (Proceedings at 12:14 p.m.)

 2              MR. HANLON:    Your Honor, I'd call United States versus

 3   Antoine Harris, Criminal Case Number ELH-17-0322.         This matter's

 4   set for sentencing.     Michael Hanlon for the United States.

 5              THE COURT:    All right.   Counsel?

 6              MR. DEMARTIN:    Good afternoon, Your Honor.       Michael

 7   DeMartin, appointed counsel for Mr. Antoine Harris.

 8              THE COURT:    And, counsel, just preliminarily, are you

 9   satisfied that your client is both mentally and physically able

10   to proceed to sentencing?

11              MR. DEMARTIN:    I am, Your Honor.     I had the opportunity

12   to visit with him in the marshal's lockup prior to the hearing

13   and he is ready to go.

14              THE COURT:    All right.   Also, can you assure me that he

15   has either read for himself or you have read to him the content

16   of the Presentence Report?

17              MR. DEMARTIN:    Yes, Your Honor, as well as the revised

18   Presentence Report and the corrections thereto.         And we are

19   satisfied with those corrections and the status of the PSR at

20   this point.

21              THE COURT:    All right.   Thank you.    You may have a

22   seat.   And we are here for sentencing.      It is in connection with

23   the defendant's plea of guilty to Count One of a second

24   superseding indictment charging conspiracy to distribute

25   narcotics, in violation of 21 USC Section 846 and 841(b)(1)(A),
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 1   which is a Class A felony.

 2              In preparation for the sentencing, the Court has read

 3   the revised Presentence Report, docketed at ECF 255.          I read as

 4   well the defense sentencing memorandum at ECF 278.         And there are

 5   several exhibits, quite a number of very moving letters of

 6   support, which were supplemented on Friday, at ECF 302.            And I

 7   also read the government's sentencing memorandum of December 12.

 8   And that's at ECF 300.     And the government also provided an

 9   exhibit.

10              I wanted to explain to the defendant and to the people

11   who are here in his behalf that there are quite a number of cases

12   in the United States Supreme Court and the United States Court of

13   Appeals for the Fourth Circuit that make clear that it is the

14   Court's responsibility to calculate, and hopefully to calculate

15   correctly, the applicable sentencing guideline range for the

16   case.   This guideline range, once calculated, is merely advisory,

17   not mandatory.

18              But the case law does describe the sentencing guideline

19   range as the starting point, or the initial benchmark, in the

20   Court's overarching effort to arrive at a sentence that is

21   sufficient, but not greater than necessary.        Of course, that test

22   is quite easy to assert and difficult to apply.

23              And in every case the Court must make an individualized

24   assessment both of the offense and the offender, taking into

25   account all of the factors in Title 18 of the United States Code
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 1   at Section 3553(a).    So I hope that background is useful.

 2             There are, as I understand it, disputes about the

 3   calculation of the guidelines.      So it will be the Court's

 4   responsibility to resolve these disputes.        As I understand it,

 5   one dispute concerns the question of whether the defendant

 6   maintained a premises for the purpose of manufacturing or

 7   distributing a controlled substance.       And if he did, it would be

 8   a two-level increase to his offense level under 2D1.1(b)(12) of

 9   the guidelines.

10             Another issue is whether he was an organizer or leader

11   of a criminal activity that involved five or more participants.

12   If so, four levels would be added under 3B1.1A.         And these issues

13   were reserved for resolution by the Court.

14             There's no determination that he is a career offender.

15   So while that issue had been reserved, there is no dispute.        He

16   is not deemed a career offender in the Presentence Report.

17             The Presentence Report does calculate based on these

18   two other enhancements.

19             So counsel, may I see you at the bench, and we can talk

20   about the order in which you'd like to present these matters?

21   And I'll ask that the defendant get a headset.

22             Conference at the bench.

23   (It is the policy of this court that every guilty plea and

24   sentencing proceeding include a bench conference concerning

25   whether the defendant is or is not cooperating.)
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 1             THE COURT:    So I think after discussion with counsel,

 2   there are the two enhancements I mentioned, which would add a

 3   total of six levels to the offense level.        This ruling of mine

 4   has no bearing on any other case.      But I think in the context of

 5   this case, the issues of the enhancements are better addressed in

 6   the context of 3553(a).     And so the Court is not going to apply

 7   the enhancements and will just consider any arguments about them

 8   in the context of addressing the factors under 3553(a), without

 9   prejudice to the right of the government to make arguments about

10   these enhancements in other cases.

11             And that means that before any deductions for

12   acceptance of responsibility, the defendant would start out with

13   an offense level of 32.     He earns two deductions under 3E1.1(a)

14   for his acceptance of responsibility.       In addition, he would be

15   eligible for one more deduction under 3E1.1(b) for his timely

16   notification of his intention to plead guilty.         Does the

17   government so move?

18             MR. HANLON:     The government so moves, Your Honor.

19             THE COURT:    That leads to me granting the motion and a

20   total of three deductions.     So the final offense level would be a

21   29.

22             And the defendant has a total of six criminal history

23   points, but he earns an additional two points because he was

24   under a criminal justice sentence when this offense occurred.

25   That's a total of eight points.      And eight points yields a
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 1   criminal history category of IV.

 2             So an offense level of 29 and a criminal history

 3   category of IV leads to a guidelines range of 121 to 151 months.

 4             Did I make any mistakes, counsel?

 5             MR. HANLON:    Not from the government's point of view,

 6   Your Honor.

 7             MR. DEMARTIN:     No.   We agree with the calculations,

 8   Your Honor.

 9             THE COURT:    All right.    And then, counsel, anything

10   else with the guideline calculations before we move to the

11   3553(a) analysis?

12             MR. HANLON:    No, Your Honor.

13             THE COURT:    And from you, Mr. DeMartin, any objection?

14             MR. DEMARTIN:     No, ma'am.

15             THE COURT:    Okay.     Then let me turn to the government

16   first.

17             MR. HANLON:    Thank you, Your Honor.      So I don't want to

18   repeat what I said in my sentencing memo, Your Honor.          But I do

19   think that there's, I do think I need to summarize and I want the

20   record to be clear and I want to be sure that I'm being clear as

21   to how the government's arrived at this recommendation in this

22   case.

23             The government does believe that a 12-year sentence is

24   appropriate in this case.     The government has looked at this case

25   both kind of generally in terms of the impact that this kind of
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 1   drug trafficking has on our community, particularly fentanyl and

 2   heroin, and how they're contributing to the opioid problem.         The

 3   government's also looked at sort of individual facts in this case

 4   and the defendant's role.     And both of those considerations, Your

 5   Honor, lead the government to believe that when you look at the

 6   type of drug we're dealing with, the quantity of the drug we're

 7   dealing with, the duration of the conduct that we're dealing

 8   with, and the defendant's particular role, 12 years is an

 9   appropriate sentence.    And that's before you get to the

10   defendant's criminal record, which I will address.

11             Again, without harping on everything in the brief

12   because I'm sure the Court's read it, the case was marked not

13   only by the fact that it involved a lot of fentanyl being brought

14   into this country from a foreign country -- the defendant was not

15   involved in the international smuggling operation, Your Honor,

16   but he was buying directly from the person who was.         So we're

17   talking about sort of a first level receiver/distributor of

18   fentanyl straight into the United States from a foreign supplier.

19   So this is significant conduct.

20             And I don't think I need to tell the Court about the

21   impact that this type of drug is having on this community.

22             Now, there's been debate, and I think the defendant

23   reserved the right to argue that he didn't know it was fentanyl,

24   he thought it was something else.      It doesn't matter.      This was

25   opioid trafficking, Your Honor.      This was, even by the defense,
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 1   it was heroin trafficking.     This is significant conduct.

 2             And the kilogram of fentanyl that was taken out of the

 3   defendant's wife's house, sort of the end of his involvement in

 4   the conspiracy in April of 2017, Your Honor, that kilogram of

 5   fentanyl had hit the streets, it would have created a public

 6   safety problem, Your Honor.     I think there's a good chance it

 7   would have resulted in overdoses.      People might have died.     So

 8   that is the significance of just the general conduct.

 9             A key point, Your Honor, though, I think is the

10   defendant's own particular role.      And whether or not this is a

11   basis for a supervisory enhancement or a guidelines enhancement

12   or not, it is very a significant 3553(a) consideration.

13             I laid out in the government's brief, there were at

14   least four components, as I consider it, to the manner in which

15   the defendant was operating as a leader in this activity.

16             First of all, he was supervising, he was organizing, he

17   was coordinating all of the activity at this sort of Fox Street

18   stash location.   And I provided some samples of calls.

19             It was the defendant who was providing the supply.            It

20   was the defendant who was sort of initiating the conduct.          It was

21   the defendant who's giving instructions to person, to people

22   about getting this type of bags and make sure Jahod has what he

23   needs, and give so and so two, and so forth.

24             So the activity at the 2808 Fox Street location was

25   largely precipitated by the defendant's conduct.         He not only was
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 1   the one who was providing the supply, but he was really

 2   coordinating and directing operations.       And I think you've seen

 3   that in the calls.

 4                The defendant also, Your Honor, had supervisory

 5   responsibility.    And this is related, I guess, to the stash house

 6   location, Your Honor.    But this January 17th, 2017 call with

 7   person known as Twizzle.     It's a second aspect of the defendant's

 8   sort of role in this case, which I think is significant.           It is a

 9   single call, Your Honor, but it's a lengthy one.         And it tells us

10   not only about the type of business that this was, but also I

11   think about the defendant's role in the business.

12                You've seen the transcript, Your Honor.      You've seen

13   the excerpts of it.    It is perfectly clear that the defendant is

14   receiving information from a person who has a subordinate

15   position to him.    Something's happened, something has gone wrong.

16   And they're relaying the information up the chain of command.

17                The defendant, on a couple of occasions, seems

18   irritated, why can't someone else handle this.         But it's clear he

19   needs to know, he needs to be told.       And, frankly, Your Honor,

20   it's very obvious that he's being told because he is the person

21   in charge.    He's the one who has to be told when something goes

22   wrong.

23                Of course, Your Honor, the nature, what he is being

24   told is that somebody didn't make it because of the mix.           And

25   you've seen the government's reading of that, Your Honor.          The
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 1   government submits that it's very clear what this call meant.

 2                At a minimum, this signals to the defendant, which the

 3   government respectfully submits he would have known, anyway, that

 4   this is a deadly business that he is in, and he and his

 5   codefendants were in a business where sometimes people didn't

 6   make it because of their mix.      So that call's important for two

 7   reasons.

 8                A third aspect of the defendant's supervisory role,

 9   Your Honor, is his supervision with respect to Lisa Harris.

10   You've seen the call there.      You're familiar with Lisa Harris's

11   case, Your Honor.    This is certainly a situation in which this

12   individual with virtually no criminal record is being put into

13   this thing, and they're operating essentially under the

14   defendant's control.

15                I also think it's significant, Your Honor, in terms of

16   the role of the offense and the seriousness and the nature of the

17   conduct that this last kilogram of fentanyl hits Baltimore in

18   April of 2017.    The defendant is at Lisa Harris's residence to

19   receive it from Tavon Jones.      You've seen the facts in the agreed

20   statement.    But the kilogram doesn't go with him.        The kilogram

21   stays in his estranged wife's house, where he goes to another

22   location.    This is typical, again, Your Honor, this distancing.

23   He's sometimes at Fox Street, but he's not always there.

24                He distances himself from the kilogram.       He's directing

25   someone else to do deals for him.       This is supervisory conduct.
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 1                And I'll end on that subject, Your Honor, with the

 2   issue of the New York trip, a situation in which the defendant,

 3   Mr. Harris, is in contact with a New York supplier.          Someone is

 4   an alternative supplier when Tavon Jones isn't around.          He wants

 5   to set up a deal.    So what does he do?      He sends a member of his

 6   family along with Jahod Brandon, another coconspirator, to do the

 7   deal for him.    This is pure supervision.      This is a leadership

 8   kind of role.    At the 3553(a) level, Your Honor, I think it's

 9   important that that be taken into consideration.

10                I'll touch briefly, Your Honor, on the question of the

11   stash house issue, but I've already touched on it.          It's clear

12   that this residence at 2808 Fox Street was also being used in

13   furtherance of a conspiracy.      And whether or not it's a

14   guidelines issue or a 3553(a) issue, that goes hand in hand with

15   the defendant's supervisory conduct, and it goes hand in hand

16   with the nature of the seriousness of this business.

17                This is almost like a drug distribution point being run

18   out of this house.    It's a pure stash house operation being run

19   as part of an organization, a crew, a wing of this conspiracy

20   that the defendant was the leader of based on him having access

21   to the supply and based on his phone calls.

22                Now, he was not the only leader in this conspiracy.

23   The Court will eventually hear about the other lead defendant in

24   this case.    And I imagine I'll be making arguments that are

25   similar to these when I get to that person.
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 1                It has always been the government's position, Your

 2   Honor, that this was a case of two defendants in a partnership,

 3   one with the supply connection in Mexico, the other one receiving

 4   the supply and distributing it, both leaders within their wings,

 5   enjoying a business relationship.       And, ultimately, the

 6   government will take the position that enhancements are proper

 7   for both, or that the 3553(a) factors require that that

 8   leadership conduct be taken into consideration.

 9                So we're dealing with a defendant with a significant,

10   substantive, substantial organizational role involving a lot of

11   what is probably the most dangerous drug in America today,

12   supplying a lot of it, and calls and communications indicating

13   that he's aware of the risk that this type of product can have on

14   people.   He's directing the activities and the distribution of

15   this drug.    And he's sort of the first-level distributor/supplier

16   from an individual who's getting it straight from Mexico.

17                And this is over an extended duration of time.         This

18   was not just a couple of episodes.       This was a months-long

19   conspiracy.    And the defendant's wiretap was running for just

20   about the entirety of it.      This is a very large case and a very

21   significant role.

22                On top of all that, Your Honor, is the defendant's

23   criminal record.    The defendant has a number of prior significant

24   convictions.    This is not a minor criminal record whatsoever.

25                In form -- excuse me.    In function, if not in form, the
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 1   defendant satisfies the requirements of a career offender

 2   adjustment.    To the extent he's not a career offender, Your

 3   Honor, the government hasn't really pushed for it partly because

 4   of the moving aspects of this law, of the law in the area, and

 5   partly because I don't think this case needs to be decided on

 6   that.    The government hasn't pressed for career offender.

 7               But when you look at the function, at the substance of

 8   the defendant's crime here and his criminal record, there is no

 9   difference between the defendant and a true, genuine career

10   offender.   We have previous violence.       We have previous drug

11   trafficking.   We have a not great adjustment to judicial

12   supervision.   And, of course, this crime is committed while the

13   defendant is on supervision for a prior felony offense.             The

14   totality of this crime takes place while the defendant was

15   already serving a sentence.

16               All of this, Your Honor, are significant factors that

17   weigh heavily in favor of a 12-year sentence.         That sentence

18   reflects the seriousness of the offense.        It reflects the

19   defendant's history and characteristics, his criminal record.             It

20   sends what I think is an absolutely necessary message of

21   deterrence.    It sends a message to the community that they can be

22   protected from this kind of repeat, ongoing fentanyl dealing.

23   And I do think, Your Honor, that it is proportional to the

24   sentences that the government has sought or will seek in other

25   cases.
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 1               So far, Your Honor, the Court has imposed sentences of,

 2   in the five, six, seven year range for some of the other

 3   defendants.   There are two defendants that have received I think

 4   higher sentences than that range.

 5               Michael Johnson received -- I may get this wrong, Your

 6   Honor -- I think was a nine-year sentence.        This was an

 7   individual who was in the Tavon Jones wing of the conspiracy.

 8   Did not have a leadership role.       I cannot remember Mr. Johnson's

 9   criminal record, Your Honor, so I --

10               THE COURT:    I have down in my notes he got 102 months.

11               MR. HANLON:   I apologize, Your Honor.      So that's eight

12   and a half years.    So I stand corrected.

13               THE COURT:    Maybe I wrote it down wrong.

14               MR. HANLON:   No, Your Honor.     I'm sure that the Court's

15   correct.    And then another individual, Thomas Merrick, received,

16   it was in the 130s, Your Honor, if memory serves.          I think it was

17   11 years.

18               THE COURT:    138 months.

19               MR. HANLON:   Yes.   So, again, less than Mr. Harris,

20   than what the government's asking for for Mr. Harris.

21               To be very clear, I don't want to understate Mr.

22   Merrick's role, Your Honor.      He had a significant criminal

23   history and he also had a substantive role.         But he was nothing

24   like a supervisor.    And I think I made very, very clear during my

25   argument in Mr. Merrick's case that he had nothing even
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 1   approaching a supervisory role.       So we're talking about a very

 2   differently situated defendant with Mr. Merrick.

 3              Twelve years, Your Honor, is an appropriate and

 4   proportional sentence for Mr. Harris, and that is the

 5   government's recommendation.

 6              THE COURT:    Thank you, counsel.     And Mr. DeMartin.

 7              MR. DEMARTIN:    Your Honor, I submit that the government

 8   overstates Mr. Harris's role in this offense.         He's certainly not

 9   a wing of this offense, an equal with the importation of

10   multiple, multiple kilos.      The government doesn't show or allege

11   that he's the exclusive middleman for this large importation

12   wing, as the government would call it.

13              Mr. Harris is simply a broker, a middleman.          He didn't,

14   he didn't get a regular supply unless he had some buyer ready,

15   willing and able.    He didn't make that much money doing this.        He

16   got these drugs fronted from, from Tavon Jones.

17              Certainly nowhere near the scale of his codefendants.

18   I think that's what the Court, I would ask the Court to look at.

19              Most significant in this case are the sentences of the

20   codefendants.    Again, we have Corey Riley, who I'm astounded that

21   the government can ask for more time for my client than Mr.

22   Riley, that they think is appropriate.        Certainly, he's

23   affiliated or associated with 3.4 kilos of fentanyl at least, a

24   massive cash stash of $61,000, a firearm.        He fled to Mexico.    He

25   also faced two violations of supervised release.         And he
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 1   definitely got an early Christmas present whenever that

 2   sentence -- of 78 months.      Certainly, extremely, extremely larger

 3   in the scale of things than my client, Mr. Harris.

 4              Another person who is critical to the importation of 31

 5   kilos of fentanyl and 10 kilos of heroin, who received 80 months,

 6   was Mr. Brown, Perry Brown.      He made multiple trips to Mexico.

 7   Also associated with firearms.

 8              And, again, in reading through their statement of

 9   facts, and not that this is at issue, but it is in respect to the

10   3553(a), 3553(a) factors, there was a premise issue.          There was a

11   storage location rented by these gentlemen specifically for the

12   purpose of storage of drugs, and there was no enhancement asked

13   by the government for that.      Certainly, that would have

14   qualified, the fact that they rented a storage facility to have

15   their drugs stored exclusively for that purpose.         Government

16   didn't ask for it there.     Again, Mr. Brown had 80 months.

17              Mr. Johnson, also responsible for the storage unit, no

18   enhancement requested.     He traveled to Mexico also numerous

19   times.   At least three kilos of heroin reasonably foreseeable.

20              All these gentlemen were multiple, multiple kilo

21   dealers and receiving, in essence, far less than the range for

22   Mr. Harris.

23              Certainly, 3553(a)(6) requires the Court to address

24   sentencing disparities and put these folks in relative

25   culpability with regard to their sentences.         I'm not sure why Mr.
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 1   Merrick got 138 months.     That seems excessive.      I wasn't privy to

 2   all the facts of his sentencing.

 3                And, again, it certainly, we would submit that it's

 4   certainly not the case that he was an equal partner with the

 5   importers.    He was a small broker, middleman.       He got caught with

 6   the biggest amount at that house at that time.

 7                Other than that, the government has evidence of an

 8   ounce here and an ounce there.      That's it.    He wasn't the

 9   pipeline for the importers to the street.

10                So, certainly, that justifies a much lower sentence

11   than the importers got.     And with eight years as our floor, I

12   believe that more than, more than justifies the eight-year

13   sentence, Your Honor.

14                With regard to his health, he has many health issues.

15   He suffers from anxiety, depression.       All these have been

16   diagnosed in the past.     He's taken Zoloft, Seroquel, Prozac.

17   Suffers from high blood pressure, diabetes, arthritis.          He's had

18   tumors in his cheek and his bladder surgically removed in the

19   past.

20                He'll be at a disadvantage, I would submit, once he

21   goes to federal incarceration.

22                He's blind in his right eye.     There's no chance,

23   really, for that to get corrected until he's released.

24                Suffered two strikes by a car as a child when he was

25   age 5 and 10.    He crushed his ankle.     He's got limited mobility.
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 1                He also has strong family support, Your Honor.         He has

 2   numerous family members in the gallery.        We submitted numerous

 3   moving letters to the Court.       In addition, we supplemented those

 4   on Friday.

 5                I read through all those.    And certainly moving and

 6   show that there's the part of him that is the drug dealer on the

 7   street.    He acknowledges that.    He's taken responsibility for

 8   that.   There is the other person who is certainly a family man.

 9   And those letters attest to the fact that he loves his family,

10   they love him back.       And they're still involved in his life and

11   will be.

12                With that, I'll defer if the Court wants to hear

13   allocution.

14                THE COURT:    All right.   Well, let me advise you, sir.

15   You have the absolute right to address the Court in your own

16   behalf if you would like to.       You're not required to say

17   anything.    If you chose not to say anything, I would not hold it

18   against you.    But if you do wish to say something, now would be

19   the time.    Anything you'd like to say, sir?

20                THE DEFENDANT:    Yes, ma'am.   If the Court, you just

21   bear with me for a second.

22                THE COURT:    Sure.

23                THE DEFENDANT:    I'm a little nervous.    I have to take a

24   few deep breaths here.

25                Actually, I was prepared November 30th for sentencing
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 1   and I have a letter for you, and I have a copy for myself and a

 2   copy for you.

 3                THE COURT:    Okay.

 4                THE DEFENDANT:    If the bailiff or somebody want to give

 5   it to you.    I also have another letter of a program that I've

 6   been involved in.       Here's another one.   Thinking For Change

 7   program I've been involved in.         And I would have liked to finish

 8   this program.    It was just brought to my attention since I've

 9   been at CDF.    And I did join.     I found some pretty good use of

10   it.

11                Judge, if I may read this letter.

12                THE COURT:    Sure.

13                THE DEFENDANT:    Okay.    First and foremost, I want to

14   apologize to the Court and to my family, the public, Mr. Hanlon,

15   because I do know how serious charges like these are.          At my age,

16   I should have known better.        So I don't pretty much disapprove of

17   what Mr. Hanlon has said, his thoughts, NS I respect his wishes.

18                However, I would like to read this letter.       It pretty

19   much will explain it all.

20                THE COURT:    Okay.

21                THE DEFENDANT:    Represent how I feel.

22                It says:    I'm writing this letter in hope that it finds

23   you well and in good spirits.       As you know, I'm to be sentenced

24   before you on November 30 of 2018.

25                Since being incarcerated, I've had a long time to
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 1   reflect on what I've done wrong and how it affected others.            I

 2   plan to learn from my mistakes and become a full, productive

 3   member of society upon my release.

 4               Born and raised in Baltimore City, the ghettos was full

 5   of drugs and violence.     Sadly, but because I lived there, one

 6   comes to be very familiar and accustomed to that way of life.

 7   That doesn't suggest that all individuals who have lived there

 8   are persuaded by that way of life.       I'm one of many who has been.

 9   This way of life attributed to drug use, drug abuse, death or

10   imprisonment, one way or another.

11               As a youth, I explored other alternatives like boxing

12   and Pop Warner, football and baseball.

13               My parents instilled good morals and principles in me.

14   Respect, discipline was first and foremost.         I was also taught to

15   believe in God as well.

16               My mom kept a clean home and cooked nice meals while my

17   dad worked five days a week, and sometimes overtime on the

18   weekends.   However, as time went on, I discovered that my parents

19   were also a part of the way of life.       They were functional drug

20   users.   We were barely surviving.      Then, of course, their drug

21   use became drug abuse.

22               My brother and I maintained as best we could.           We took

23   on paper routes, cutting grass, shoveling snow, helping people

24   carry their groceries to their cars or their homes, anything

25   legal we could do to earn some money.
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 1               As we became teenagers, my brother was quickly swept up

 2   by the hood.   At age 13, he took to the streets and never

 3   returned.   I did the very best I could to maintain, but at age 17

 4   I was in school and working a Baltimore Sun newspaper route and

 5   making good money when my district manager moved to Washington,

 6   DC.   His move left me jobless.

 7               I soon took to the very streets I tried to avoid

 8   because my first daughter would be born.        By the age of 19, I was

 9   being sentenced to 25 years in prison.        That would be my very

10   first and only incarceration.

11               Upon my release 14 years later, I was married and with

12   a family of four.    After being released for only 60 days, my best

13   friend was shot and killed.      Having witnessed his murder, I was

14   charged.    That completely devastated me.      When he died, a part of

15   me died as well.    He was a true friend.      He was like a brother to

16   me.   He cared and loved me for me.      I've yet to experience that

17   kind of friendship to this date.

18               Although we were cleared of any wrongdoing, I suffered

19   later depression and seek the help of a psychiatrist.

20               THE COURT:   And who's the "we" were cleared?       You said

21   "we were charged."

22               THE DEFENDANT:    Yes.   Me and another person was

23   charged, Your Honor.     I had just met the person, actually.       Upon

24   my release, I also struggled with a challenge to lead my family.

25   We lived in the ghetto.      All my daughters stayed in constant
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 1   brawls over nonsense.     Eventually, I found a construction job and

 2   we managed to move to Baltimore County.        The environment was

 3   safer and allowed my children to focus and finish high school.

 4              My parents ultimately divorced before I was home off

 5   the 25-year sentence.     However, they both stopped using drugs for

 6   over 20 years now.    They both overcame their addictions and

 7   retired as productive members of society.

 8              For years I spent a great deal of raising teenagers and

 9   grandchildren.    Then in 2008, I received a phone call at my home

10   from my mom.   She informed me that my brother had died.            He died

11   after the use of opiates.      His death left me weeping in sorrow.

12   I cried every day at the funeral and then on.         His death added to

13   more depression.

14              My life experiences inspired me to express to what I've

15   always known to be wrong.      My parents' drug use, together with

16   peer pressure and ghetto violence, appeared to be the normal, the

17   way of life.   When people use heroin, cocaine, crack, and

18   especially marijuana, I didn't care.       I've seen it all my life.

19   One side of me knew it was wrong but the other side of me knew

20   the aspect of recreational use and the dependency for the ones

21   that are sick or rely on the drugs for money.

22              I myself abused marijuana prior to this arrest.            All I

23   was concerned about was smoking weed and making money to make my

24   life easier to cope with.      I became addicted to marijuana and

25   provided everything I and my family needed.         So it has a reverse
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 1   psychological effect on the choice of right and wrong.          You know

 2   it's wrong, but your mind makes all kinds of excuses that make it

 3   right.    But it's all a lie.

 4               The marijuana I smoked every day suppressed the truth.

 5   It covered up what the outline -- it covered up what outlined the

 6   murder of my best friend.      It covered up what substance abuse

 7   does to families.    It covered up how many people lost their lives

 8   to overdoses, including not just my brother, but I lost a cousin

 9   in 1990, an uncle a few years back, and an older cousin since

10   I've been here.

11               Since I've been here, I've reflected on all these

12   issues mentioned, and I can remember all the mixed emotions.         I

13   was sad, hurt and embarrassed when substance abuse ripped through

14   my home as a youth.     I was devastated and fell into depression

15   when my best friend was murdered.       I was uncontrollably heavy in

16   deep sorrow over my brother and other family members' death as a

17   result of drugs.

18               And last but not least, I was and I still feel the hurt

19   and pain of what I and my addiction to marijuana has done to

20   myself.   I psyche myself out.

21               Moreover, past experiences are supposed to serve as

22   examples.   In light of that, I fail to be a part of the heroin

23   epidemic in a positive way.      Those children who parents are

24   proud, who parents proud of them because of drug abuse was me.

25   That person whose family that lost their friend or loved ones to
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 1   violence due to drugs was me.      That person whose family that lost

 2   their loved one to drug overdoses was me.        That person who was

 3   using drugs to suppress right from wrong was me.         And that person

 4   whom told himself he was doing the right thing in support of drug

 5   use and making money was me.

 6              No one is to be held accountable but Antoine Harris.

 7   Not the government, not the lawyers, or my parents.          I no longer

 8   choose to be a part of the problem, but a part of the solution.

 9              I am deeply sorry for what I've done and how it

10   affected others.    I plan to turn this negative into a positive.

11   I plan to enroll myself in self-help substance abuse programming

12   that assists with addiction to drug use and drug dealing.           I plan

13   to help others identify their problems and solutions.

14              I pray that God forgive me for all my sins every day,

15   that God help me maintain a positive attitude and motivation to

16   help others.

17              I am very sorry for the events that has gotten me to

18   this point.    I am truly sorry for the negative effects on others.

19   I apologize to my family, to the public, to the government, to my

20   attorney, and to you, Your Honor, for being a part of the problem

21   with the war against drugs.

22              I choose to become a full productive member of society.

23   And I look up and live out the rest of my life with my family and

24   helping others.

25              I accept full responsibility.       I accept full
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 1   responsibility, Your Honor.      And I also ask for leniency, Your

 2   Honor.

 3              I would like to thank you, Your Honor, very much for

 4   your time and consideration with this matter of sentencing.            And

 5   at this time I denounce all drugs and all criminal activities.

 6              THE COURT:    Well, what an impressive letter, Mr.

 7   Harris.   And thank you for taking the time to write it.            And I

 8   assume you wrote it on your own.       I know there are so-called

 9   jailhouse lawyers in every penal institution, but I'm crediting

10   you with this letter, and also the other one that you handed up

11   that I had a chance to scan.

12              I'm struck by the fact that you had so much potential.

13   How do we get somebody like you to make better choices?             To take

14   a life and waste it.     And you have plenty of time left, I hope.

15   So going forward, you've demonstrated your capacity to be a very

16   thoughtful, reflective, and important and contributing member of

17   our community.    There isn't any reason I can think of why someone

18   who has the ability to write such a letter couldn't choose a

19   better path.   And I hope you put your money where your mouth is

20   and that, in fact, you really mean it.

21              THE DEFENDANT:    Yes, ma'am.

22              THE COURT:    And you can have a seat because I do have a

23   few things I wish to say.

24              After conferring with counsel, it appeared it was not

25   necessary for me to resolve any disputes in the guideline
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 1   calculations, and I didn't.      But at least in the 3553(a)

 2   analysis, it does seem, I read the transcript, the transcript

 3   that was provided.    I've certainly considered your lawyer's

 4   argument as to, for example, the enhancement for the stash house

 5   and the enhancement for being a leader.

 6              It did seem to me from reading the agreed-upon

 7   statement of facts that were part of the plea agreement and the

 8   transcript than was provided that -- I'm not saying that you were

 9   the top of the pyramid, but I do think it seems from the

10   stipulated facts and the content of the wire transcript that was

11   given to me that you did have an important leadership role in

12   this enterprise.

13              I understand the defense's arguments about maintaining

14   the stash house.    I think that's a trickier question, actually.

15   The defense takes the position that you didn't have a possessory

16   interest and you didn't personally operate or manage the Fox

17   Street location.    If I had to rule, I would give you the benefit

18   of the doubt on that one.      The defense position, at least

19   according to the government, ignores the instances in which you

20   were involved in operations at Fox Street.        But I think if I were

21   required to rule, I would most likely not have awarded that

22   enhancement.   I just want to make that point to the extent

23   someone thinks it's relevant under 3553(a).

24              I would reach a different conclusion on your role in

25   the offense.
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 1              I did want to explain to you and to your supporters,

 2   Mr. Harris, some of the factors that Congress tells the judges

 3   they should take into account in the effort to arrive at a

 4   sentence that is sufficient, but not greater than necessary.           And

 5   as I said, the test is so easy to articulate and so difficult to

 6   apply because people are complicated, because decent people make

 7   poor choices, because decent people sadly sometimes do violate

 8   the law in a very serious way.      And this obviously is a serious

 9   offense.

10              I mentioned at the outset that the guidelines

11   themselves are merely advisory.       That means the Court may never

12   presume the appropriate sentence is necessarily one that falls

13   within the guideline range, even though other cases describe it

14   as the starting point.

15              Congress tells the judges they should consider the need

16   for the sentence to reflect the seriousness of the offense and to

17   provide just punishment.     Well, I think the government did a very

18   good job of describing the serious nature of this offense, both

19   by drug quantity and by the nature of the drugs.         And I know your

20   argument is that you didn't know it was fentanyl.          But the

21   government counters with it doesn't matter really, at the end of

22   the day, because you are in the business where it seems to me

23   that can happen.    And that's a risk, and a known risk.        And,

24   indeed, I think the conversation that was caught on the wire with

25   Twizzle reflects that.
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 1               So we can look around our community and we see the

 2   devastation that the drugs of this type are causing.          It's

 3   really, frankly, indescribably how many lives are lost either

 4   literally or figuratively, how many families suffer from loved

 5   ones who are involved in drugs.

 6               And then though there's no accusation of violence on

 7   your part, we all know, unless we're hiding under a rock, that

 8   drug trafficking is associated with violence.         So it's

 9   understandable when Congress says that the judge should consider

10   the need for the sentence to reflect the seriousness of the

11   offense and to provide just punishment, the government's argument

12   would I think be consistent with that factor.

13               Another goal that Congress or factor that Congress says

14   the judges should consider is the need for the sentence to deter

15   others from such criminal conduct.       Well, we can debate that.      We

16   know deterrence isn't perfect.      Far too many people are not

17   deterred.   But we don't see the people who are deterred.           And I

18   continue to believe deterrence is a legitimate component of

19   sentencing.

20               Yet another objective is to protect the public from

21   further crimes of the defendant.       Only you know the answer to

22   this one, Mr. Harris.     You've I think reached a point in your

23   life that maybe we could say is a turning point.         You're now I

24   believe 47 years of age.     You're not a youngster, but I hope you

25   have still many years to go.      And if you mean what you say, this
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 1   wouldn't be a concern.     Of course, how could I know?

 2              And then another objective is to rehabilitate the

 3   defendant in the most effective manner.        However, no sentence can

 4   be extended for the sake of rehabilitation.

 5              I want to comment on your very eloquent letter and also

 6   from the material that was previously provided.         And I say none

 7   of this to embarrass you.      But it does resonate and I think it's

 8   important to note.

 9              As I said, you're now 47 years of age.        You've shown

10   your intelligence by writing such a powerful letter.          I believe

11   you indeed do have some college in your background.

12              You're the father of five, from three relationships.

13   You talk about this in your letter that you just submitted to me

14   but, also, previously it was brought to my attention, the loss of

15   your own brother, I believe to a drug overdose.         I don't know

16   that I knew about your involvement as a witness to a murder, so

17   I'm sure that that was dreadful and painful.

18              You seem to have had caring parents.        On the other

19   hand, they had their issues.      And they were caught up in drug use

20   as well.

21              I can't sugarcoat your role in this very serious drug

22   trafficking organization and I can't sugarcoat the danger of the

23   drugs, fentanyl and heroin.

24              I mentioned the call between Harris and Twizzle that

25   was provided to me as an exhibit.       It took place in January of
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 1   2017.   And I think you were alerted there to the fact that you

 2   were in a business in which sometimes customers don't make it,

 3   because that's what was said.

 4              I also note -- and none of this is meant to embarrass

 5   you, as I said -- you do have a history of both physical and

 6   mental health issues.     And they are not lost on me, either.

 7              Both sides have done a very effective job in arguing

 8   for their respective positions.

 9              And I wanted to comment on the one thing I didn't

10   mention, the government did mention it, and that's your prior

11   record.   There is no determination that you're a career offender,

12   and the government makes the argument that it didn't press the

13   matter, but the record speaks for itself, essentially.          I know

14   that by points your record is not as serious as some we see.

15   There's a range of criminal history categories of I to VI, and

16   you came out at VI, so you're in the low end of the top half, if

17   you will, VI being the worse.

18              But in your criminal history, you were only 19, and

19   your lawyer, I know, would suggest this was so long ago, but part

20   of the reason it was so long ago is because you were incarcerated

21   for such a long time, and you say it was your only incarceration

22   but you were involved in a conspiracy with two other people to

23   commit a premeditated murder of someone named Derek Brown.          And

24   in that case the Court gave you a sentence, it looks like, it

25   says 25 years.    I don't know if that was a straight 25 years and
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 1   then you served 14 or 15 of it.

 2               You were paroled -- you got that sentence in 1991.           The

 3   offense was December of 1990.      You were 19.     And you were paroled

 4   in June of 2004.    And, obviously, at 19, that's a pretty serious

 5   sentence.   That's one of the things that I think does cause the

 6   Court some concern.

 7               The rest of your offenses.     Paragraph 39 didn't even

 8   score any points, although it was a felony drug distribution.

 9   And you only got three days of incarceration.         And then

10   Paragraphs 40 and 41 are rather de minimis.         And then you have a

11   felony drug conviction referenced in Paragraph 42.          You got 10

12   years, but 9 years 8 months and 20 days were suspended, meaning,

13   looks like time served.

14               So you're right when you say you had only one period of

15   incarceration, of any significance, anyway.         But that's a serious

16   record.   And I'm sure with that record it's difficult to get a

17   job.

18               So I think -- and I am not trying to be Solomonic in

19   any way, it may come out that way by appearance, but I'm not --

20   I've given a lot of thought to this case.        But I have to say that

21   as much thought as I gave to it prior to coming on the bench,

22   your powerful letter is quite a significant statement of your

23   potential and of your remorse.      And I can only hope it's not just

24   for sort of the effort to obtain leniency from the Court.           I

25   can't know the answer to that really.
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 1               But I would ask that you please stand.

 2               I'm mindful of the two sentencing recommendations.           I

 3   think each lawyer, as I said, has done a very effective job in

 4   advocating for his respective position.        And my view, and maybe

 5   there's that component of the season, Mr. Harris, but I am going

 6   to impose a sentence of 9 and a half years, which I think is very

 7   generous.   And I believe that's 114 months.

 8               MR. HANLON:   I believe so, Your Honor.      Yes.

 9               THE COURT:    And upon your release, sir, I will place

10   you on a period of supervised release of 5 years.          I will impose

11   the standard and mandatory conditions of supervision adopted by

12   the Court and the probation office, and the following special

13   conditions:   That you participate in a substance abuse treatment

14   program and follow the rules and regulations of that program, to

15   include submission to substance abuse testing.         Also, that if

16   directed to do so, you participate in a mental health treatment

17   program and follow the rules and regulations of that program.

18   Also, if directed, that you participate in a vocational services

19   program and follow the rules and regulations of that program, if

20   directed.

21               You must also pay a mandatory special assessment of

22   $100.

23               The plea agreement did provide for forfeiture.          Is

24   there any order?

25               MR. HANLON:   Nothing we've identified, Your Honor.          So
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                                                                               33


 1   no order.

 2               THE COURT:    So there will be no forfeiture.      And for

 3   the reasons stated in the Presentence Report, it does not appear

 4   to me the defendant is able to pay a fine.        Therefore, I will

 5   waive imposition of a fine due to financial hardship.          I cannot

 6   waive the mandatory special assessment.

 7               In my view, this sentence is sufficient, but not

 8   greater than necessary.

 9               I would also recommend the RDAP program.        And I ask

10   counsel now, is there any specific request?

11               MR. DEMARTIN:    Just geographical locations, Your Honor.

12   No specific.

13               THE COURT:    To Baltimore?

14               MR. DEMARTIN:    Yes.

15               THE COURT:    As close to Baltimore as possible.

16               Is there any legal objection coming from the

17   government?

18               MR. HANLON:   No, Your Honor.

19               THE COURT:    From the defense?

20               MR. DEMARTIN:    No, Your Honor.

21               THE COURT:    In Paragraph 13, sir, you did waive many of

22   your rights to appeal.      You reserved the right to appeal any

23   sentence that exceeds the statutory maximum.         This sentence was

24   definitely not in excess of the statutory maximum.          You reserved

25   right to appeal a determination that you're a career offender,
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 1   but the Court did not find you to be a career offender.

 2              All of that having been said, if you wish to note an

 3   appeal, sir, that's up to you.      You have 14 days from the entry

 4   of a Judgment and Commitment Order to note an appeal.          I would

 5   ask defense counsel to confirm contact with the defendant during

 6   the appeal period in the event he does wish to note an appeal.

 7              Did I leave anything out?      Any open counts?

 8              MR. HANLON:    Yes, Your Honor, there are open counts.

 9   The defendant pled guilty to Count One of the second superseding

10   indictment.   The government moves to dismiss the original

11   indictment and the second -- I'm sorry -- and the superseding

12   indictment as to the defendant.       And the government moves to

13   dismiss any open counts, apart from Count One, of the second

14   superseding indictment.

15              THE COURT:    All right.    Thank you.    That motion will be

16   granted.   I did want to ask the probation agent if she will be

17   submitting a new presentence report because I did not apply, as a

18   practical matter, the enhancements that were in there.          And that,

19   of course, affects the guideline calculation.

20              MS. WONNEMAN:    Yes, Your Honor, I will amend the report

21   and resubmit it.

22              THE COURT:    Okay.   So the Presentence Report will not

23   reflect the six-level enhancement which, of course, would have

24   raised the guidelines.

25              MS. WONNEMAN:    Correct, Your Honor.
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 1                THE COURT:   Okay.    Anything else, counsel?

 2                MR. DEMARTIN:   Your Honor, can we address his credit?

 3                THE COURT:   Yes.

 4                MR. DEMARTIN:   He has some state custody credit I

 5   believe he should be entitled to.       When they served the warrant

 6   on the Baltimore City house, there was also one served in Harford

 7   County, and he was incarcerated on that for some marijuana, I

 8   believe, and some cocaine that was found in the house.          No?   Just

 9   marijuana.    Be that as it may, I think he bailed out on that.

10   But then a violation warrant came up and he was incarcerated in

11   Baltimore City on the violation for the CDS probation he was on.

12   And that was dismissed without any credit.

13                So we've been in continuous custody, state custody,

14   since April 15th of 2017.

15                THE COURT:   Okay.    I have September 20 of 2017.

16                MR. DEMARTIN:   That was federal custody.      But the

17   state, I would ask the Court to consider giving him credit for

18   the state.    He was arrested in Harford County based on these same

19   charges.

20                THE COURT:   And nothing was applied to a state

21   sentence?

22                MR. DEMARTIN:   No.   Those charges were dismissed in

23   Harford County, as well as the violation, which was also holding

24   him in Baltimore City.

25                THE COURT:   And what's the date?    You said April what?
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 1                MR. DEMARTIN:    15th of 2017.

 2                THE COURT:    Okay.   Mr. Hanlon, any comment?

 3                MR. HANLON:    Your Honor, I don't have any problem with

 4   the Court recommending the defendant receive any credit he's due.

 5   Obviously, the Bureau of Prisons --

 6                THE COURT:    Sure.   I'm going to tell him that.

 7                MR. HANLON:    But I have no problem with any of the

 8   recommendations.

 9                THE COURT:    But do you agree with that date?

10                MR. HANLON:    Yes, Your Honor.   That sounds right.

11                THE COURT:    Okay.   So I'm going to recommend that the

12   defendant get credit from April 15 of 2017.         And the way it

13   works, Mr. Harris, is that will go on your Judgment and

14   Commitment Order.    But, ultimately, the Bureau of Prisons makes

15   the final decision.       Now, if you're unhappy with their decision

16   -- and maybe they'll agree with you and me.

17                But if you're unhappy, there is a mechanism to

18   challenge it through the administrative remedy procedure.           But if

19   that time was not credited to any other sentence, you should get

20   the credit.    But, ultimately, the Bureau of Prisons, just like

21   with the designation of a sentence, where it's served, the Court

22   can recommend, but they have their process and they make those

23   decisions.

24                Good luck to you, sir.

25                THE DEFENDANT:    Thank you, Your Honor.
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 1             THE COURT:    We'll stand in recess.

 2             (Conclusion of Proceedings at 1:26 p.m.)

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 3

 4                          REPORTER'S CERTIFICATE

 5

 6              I, Mary M. Zajac, do hereby certify that I recorded

 7   stenographically the proceedings in the matter of USA v. Antoine

 8   Harris, Case Number(s) ELH-17-322, on December 19, 2018.

 9              I further certify that the foregoing pages constitute

10   the official transcript of proceedings as transcribed by me to

11   the within matter in a complete and accurate manner.

12              In Witness Whereof, I have hereunto affixed my

13   signature this _________ day of __________________, 2020.

14

15

16

17                                    /S/
                                 Mary M. Zajac,
18                               Official Court Reporter

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